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                                          ORDER

      IT IS ORDERED that Defendant’s waiver is hereby accepted, and Defendant’s
not guilty plea to all counts is entered on record with the Clerk of Court.

      DATED this 9th day of May, 2025.

                                          BY THE COURT:


                                          ____________________________________
                                          MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT


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